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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS


     United States of America,                      CaseNo. 3:16CR516-4

                                  Plaintiff,        SENTENCING ORDER
                   -vs-                             RE: MANDATORY AND STANDARD
                                                    CONDITIONS OF SUPERVISED RELEASE
     Wit1Pn McPherson Burt (4),
                                                    JUDGE JACK ZOUHARY
                                  Defendant.


                                         STANDARD CONDITIONS

          While on Supervised Release Defendant shall not commit another federal, state, or local

     crime, shall not illegally possess a controlled substance, and shall comply with the standard

     conditions that have been adopted by this Court, and shall comply with the following additional

     conditions:


          DNA Collection
          Defendant shall cooperate in the collection of DNA as directed by the U.S. Pretrial Services
          & Probation Officer.


          Firearms and Dangerous Weapons
          Defendant shall not possess a firearm, destruction device, or any dangerous weapon.


          Mandatory Drug Testing
          Defendant must refrain from any unlawful use of a controlled substance and submit to one
          drug test within 15 days of release from imprisonment and at least two periodic drug tests
          thereafter, as determined by the court.
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         I have reviewed and understand the above conditions as part of my sentence.


         Date:                                          ~,_Q,~
                                                     Wiljon McPherson Burt, Defendant
                                                         t-


                                                        Q:; =r
                                                     Att~ . , _ , u ... ._,,,,,.,.._,_


         IT IS SO ORDERED.
